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UNITED STATES BANKRUPTCY COURT

 

DISTRICT OF DELAWARE

x

: Chapter 11
In re:

Case No. 13-12329 (CSS)
FURNITURE BRANDS :
INTERNATIONAL, INC., ef al, : Jointly Administered
Debtors.’ : Docket Ref. No. 21
x

 

INTERIM ORDER (1) AUTHORIZING THE DEBTORS TO
(A) OBTAIN POST-PETITION FINANCING ON A SUPER-PRIORITY,
SENIOR SECURED BASIS, (B) USE CASH COLLATERAL, (C) REPAY
THE PREPETITION REVOLVER IN FULL, (1) GRANTING ADEQUATE
PROTECTION TO CERTAIN PREPETITION LENDERS, (II) MODIFYING
THE AUTOMATIC STAY, AND (IV) SCHEDULING A FINAL HEARING

 

Upon the motion (the Motion”) [Docket No. 21] dated September 9, 2013 of Furniture
Brands International, Inc., Broyhill Furniture Industries, Inc., HDM Furniture Industries, Inc.,
Lane Furniture Industries, Inc., Maitland-Smith Furniture Industries, Inc., and Thomasville
Furniture Industries, Inc. (each, a “Borrower” and, collectively, the “Borrowers”), and the other
persons designated as a “Credit Party” (each, a “Credit Party” and, collectively, the “Credit
Parties”) in the DIP Agreement (as defined below), each as a debtor and debtor-in-possession

(collectively, the “Debtors’”) in the above-captioned chapter 11 cases, pursuant to sections 105,

 

The debtors in these chapter 11 cases, along with the last four digits of each debtor’s tax identification
number, as applicable, are: Furniture Brands International, Inc. (7683); Action Transport, Inc. (7587);
Broyhill Furniture Industries, Inc. (3217); Broyhill Home Furnishings, Inc, (8844), Broyhill Retail, Inc.
(8843); Broyhill Transport, Inc, (1721); Furniture Brands Holdings, Inc. (2837), Furniture Brands
Operations, Inc. (4908); Furniture Brands Resource Company, Inc. (1288); HDM Fumiture Industries, Inc.
(7484); HDM Retail, Inc. (6125); HDM Transport, Inc. (4378); Lane Furniture Industries, Inc. (5064);
Lane Home Furnishings Retail, Inc, (9085); Laneventure, Inc. (8434); Maitland-Smith Furniture Industries,
Inc. (7486); Thomasville Furniture Industries, Inc. (6574); Thomasville Home Furnishings, Inc. (3139);
Thomasville Retail, Inc. (f/k/a Classic Design Furnishings, Inc.) (6174). The Debtors’ corporate
headquarters is located at | N. Brentwood Blvd., St. Louis, Missouri 63105.

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361, 362, 363(c)(2), 364(c)(1), 364(c)(2), 364(c)(3), 364(d), 364(e), and 507 of chapter 11 of title
11 of the United States Code (the “Bankruptcy Code”), Rules 2002, 4001, and 9014 of the
Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 4001-2 of the Local
Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the
District of Delaware (the “Local Rules”), seeking entry of an interim order (this “Interim Order”)
providing for, among other things:

(i) authority for the Debtors to obtain senior secured post-petition financing
on a super-priority basis pursuant to the terms and conditions of that certain Senior
Secured Super-Priority Debtor in Possession Credit Agreement dated September 9, 2013,
by and among the Borrowers, Furniture Brands International, Inc., as Borrower
Representative, the other Persons party thereto that are designated as Credit Parties,
NexBank SSB, as agent for the DIP Lenders (as defined below) (the “DIP Agent”), and
the fenders party thereto from time to time (collectively, the “DIP Lenders”),
substantially in the form attached hereto as Exhibit 1 (as such agreement may be
amended, restated, amended and restated, extended, modified, supplemented, or replaced
from time to time in accordance with its terms, the “DIP Agreement” and the financing
made available pursuant to the DIP Agreement and the other DIP Documents (as defined

below), the “DIP Facility”);

(il) authority for the Debtors to (a) execute, deliver, and perform under the

 

DIP Agreement and all other related or ancillary documents and agreements (including

 

Capitalized terms used but not otherwise defined herein shall have the meaning ascribed
to such terms as set forth in the DIP Agreement.

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the Budget (as defined below)) (collectively with the DIP Agreement, the “DIP
Documents”) and (b) perform such other acts as may be necessary or desirable in
connection with the DIP Documents;

(iii) authority for the Debtors to (a) use cash collateral on the terms described
herein, and (b) access and use the liquidity provided under the DIP F acility on an interim
basis, as follows: (1) access and use of the postpetition term loan made available under
the DIP Facility in the amount of $90,000,000 (the “Take-Out Term Loan”) to (A)
permanently repay in full all Revolver Obligations (as defined below) pursuant to that
certain payoff letter by the Revolver Agent (collectively with all related or ancillary
documents and agreements, including cash collateral agreements, the “Revolver Payoff
Letter”) attached to the Motion as Exhibit C and, concurrently therewith, terminate the
Revolver and fund the indemnification account provided for in the Revolver Payoff
Letter (the “Revolver Indemnification Account”), and (B) cash collateralize all
outstanding letters of credit and purchase charge cards under the Revolver {as defined
below); (2) pay fees and expenses (including original issue discount in respect of the total
amount of committed financing under the DIP Facility); and (3) access and use of up to
$25 million of the revolving commitment made available under the DIP Facility (the
“DIP Revolver” and, together with the Take-Out Term Loan, the “Interim DIP
Financing”) to (x) refinance prior indebtedness, including any Revolver Obligations, and
cash collateralize letters of credit and purchase charge cards outstanding under such prior
indebtedness, (y) fund the Debtors’ chapter 11 cases and the continued operation of their
businesses as Debtors, (z) fund certain fees and expenses associated with the

consummation of the transactions contemplated in the DIP Documents, each on the terms

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set forth herein and the DIP Documents; a grant of an automatically perfected, valid,
enforceable, unavoidable, and first-priority security interest first-priority security interest
and lien, pursuant to section 364(c)(2) of the Bankruptcy Code, on all DIP Collateral (as
defined herein) and assets of the Borrowers and the other Credit Parties of any kind
(other than Avoidance Actions (as defined below) and the proceeds therefrom, except as
set forth in the Final Order), whether now existing or hereafter acquired, that was not
subject to a valid, perfected, and non-avoidable lien in existence on the Petition Date (as
defined below), subject only to the Carve-Out (as defined below);

(iv) a grant of an automatically perfected, valid, enforceable, unavoidable and
junior lien, pursuant to section 364(c)(3) of the Bankruptcy Code, on the property of the
Borrowers and the other Credit Parties as more fully described herein subject to Permitted
Liens (as such term is defined and as set forth in the DIP Agreement) and the Carve-Out;

(v) a grant of an automatically perfected first priority, valid, enforceable,
unavoidable, senior, priming lien, pursuant to section 364(d)(1) of the Bankruptcy Code,
on all property of the Borrowers and the other Credit Parties that is subject to a valid and
perfected lien securing all obligations owed to the Prepetition Secured Parties (as defined
herein);

(vi) a grant, with respect to the obligations of the Borrowers and the other
Credit Parties hereunder and under the other DIP Documents (and subject only to the
Carve-Out described in paragraph J.31 hereof), of an allowed super-priority
administrative expense claim in each of the Debtors’ bankruptcy cases (and against each
of the Debtors’ estates created pursuant to section 541 of the Bankruptcy Code) pursuant

to section 364(c)(1) of the Bankruptcy Code having priority over all administrative

 

 
 

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expenses of the kind specified in or arising under any section of the Bankruptcy Code
(including, sections 105, 326, 328, 330, 331, 503(b), 507(a), 507(b), 546(c) or 726
thereof);

(vii) authority for the Debtors to pay the principal, interest, fees, expenses, and
other amounts payable under the DIP Documents as such become due, including, the
reasonable and documented fees and disbursements of the DIP Agent’s and the DIP
Lenders’ attorneys, advisers, accountants, and other consultants, all to the extent provided
in and in accordance with the terms of the DIP Agreement and DIP Documents;

(viii) authority to use cash collateral (as such term is defined in section 363(a)
of the Bankruptcy Code and/or under the DIP Documents, as applicable), subject to the
restrictions set forth in the DIP Documents, and providing adequate protection to the
Term Loan Parties for any Diminution in Value of their interests in the Prepetition
Collateral (each as defined herein);

(ix) a modification of the automatic stay imposed by section 362 of the
Bankruptcy Code to the extent necessary to implement and effectuate the terms and
provisions of the DIP Documents and this Interim Order, as set forth herein;

(x) approval of the Chapter 11 Case Milestones (Section 7.1(m) of the DIP
Agreement, the “Milestones”) in respect of the Bankruptcy Sale and the Lane Sale (each
as defined in the DIP Agreement), in accordance with the DIP Agreement through the
implementation of the process and procedures set forth in the Bidding Procedures Order
(as defined in the DIP Agreement) through an auction whereby the DIP Agent, the DIP
Lenders, the Term Loan Agent (as defined below), the Term Loan Lenders (as defined

below), and their respective affiliates, shall have the right to credit bid up to the full

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amount of the DIP Obligations (as defined below) and the Term Loan Obligations (as
defined below), as applicable, and upon execution of the Asset Purchase Agreement (as
defined in the DIP Agreement), such credit bid, together with any cash required under the
Asset Purchase Agreement, shall be the “stalking horse” bid (with an associated breakup
fee and expense reimbursement), with an auction (if necessary) and sale hearing
scheduled in accordance with the Milestones; and
(xi) scheduling of a final hearing (the “Final Hearing”) to consider entry of an
order approving the relief requested in the Motion on a final basis (the “Final Order’) and
approving the form of notice with respect to the Final Hearing;
and the Court having considered the Motion, the Declaration of Vance Johnston in Support of
Debtors’ Chapter 11 Petitions and First Day Motions [Docket No. 16], the Declaration of
Morgan Suckow in Support of the Motion attached as Exhibit D to the Motion, the Declaration
of Shawn Hassel in Support of the Motion attached as Exhibit E to the Motion, the DIP
Documents, the evidence submitted or proffered at the interim hearing to consider the relief
requested in the Motion held on September 11, 2013 (the “Interim Hearing”); and notice of the
Interim Hearing having been given in accordance with Bankruptcy Rules 4001(b), (c) and (d),
and 9014; and the Interim Hearing having been held and concluded; and all objections to the
relief requested in the Motion having been withdrawn, resolved, or overruled by the Court; and
based on all pleadings filed with this Court, and all proceedings held before the Court; and it
appearing to the Court that granting the interim relief requested in the Motion is fair and
reasonable and in the best interests of the Debtors, their estates, and their creditors and equity
holders, and is essential for the continued operation of the Debtors’ businesses; and it further

appearing that the Debtors are unable to obtain unsecured credit for money borrowed allowable

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as an administrative expense under section 503(b)(1) of the Bankruptcy Code; and adequate
protection being provided on account of the interests of certain holders of liens on the property of
the estates on which liens are to be granted; and after due deliberation and consideration, and for
good and sufficient cause appearing therefor:

BASED UPON THE RECORD ESTABLISHED AT THE INTERIM HEARING BY THE
DEBTORS, THE COURT HEREBY MAKES THE FOLLOWING FINDINGS OF FACT AND
CONCLUSIONS OF LAW:

A. Petition Date. On September 9, 2013 (the “Petition Date”), each of the Debtors
filed a separate voluntary petition under chapter 11 of the Bankruptcy Code in the United States
Bankruptcy Court for the District of Delaware (the “Court”) commencing these chapter 11 cases.

B. Debtors-in-Possession. The Debtors continue to operate their businesses and
properties as debtors-in-possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.
No trustee or examiner has been appointed in these chapter 1] cases.

Cc. Jurisdiction and Venue. This Court has jurisdiction, pursuant to 28 U.S.C. §§
157(b) and 1334, over these proceedings, and over the persons and property affected hereby.
Consideration of the Motion constitutes a core proceeding under 28 U.S.C. § 157(b)(2). Venue
for these cases and proceedings on the Motion is proper in this district pursuant to 28 U.S.C. §§
1408 and 1409.

D. Committee Formation. As of the date hereof, the United States Trustee (the “U.S.
Trustee” has not yet appointed an official committee of unsecured creditors (the “Committee”) in

these chapter 11 cases pursuant to section 1102 of the Bankruptcy Code.

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E. Debtors’ Stipulations. Subject only to the rights of parties in interest as set forth

in paragraph 34 hereof, after consultation with their attorneys and financial advisors, the Debtors

(on behalf of, and for themselves) admit, stipulate, acknowledge, and agree to the following:

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(1) Revolver, Fumiture Brands International, Inc., as Borrower
Representative, the other Borrowers, certain other parties designated as “Credit Parties”
thereto, the financial institutions from time to time party thereto (collectively, the
“Revolver Lenders”), General Electric Capital Corporation, as agent for the Revolver
Lenders (the “Revolver Agent”), General Electric Capital Corporation, Bank of America,
N.A., and Wells Fargo Bank, National Association, as co-collateral agents, General
Electric Capital Corporation and Bank of America, N.A., as syndication agent, and Wells
Fargo Bank, National Association, GE Capital Markets, Inc., and Bank of America, N.A.,
as lead arrangers and bookrunners are parties to that certain Credit Agreement, dated as
of September 25, 2012 (as may be amended, restated, modified, supplemented, or
repiaced from time to time the “Revolver Credit Agreement”). The Revolver Credit
Agreement provides the Debtors with an asset-based credit facility (the “Revolver”) with
$200 million maximum availability, subject to a borrowing base (and as reduced by
reserves), all set forth in the Revolver Credit Agreement. As of the Petition Date,
approximately $91 million was outstanding under the Revolver (together with any other
amounts outstanding under the Revolver as provided in the Revolver Credit Agreement,
including obligations in respect of letters of credit, cash collateral for letters of credit,
purchase charge cards, purchase card services, fees, expenses and indemnity, the
“Revolver Obligations”). The Revolver is secured by a first priority lien on all of the

Debtors’ accounts receivables, inventory, cash deposit and securities accounts and such

 
 

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other assets related to or arising out of, evidencing or governing any of the foregoing,
including, without limitation, all cash, money and cash equivalents and proceeds thereof
(subject only to certain liens granted to the Term Loan Agent as described below), and a
second priority lien on the Prepetition Term Loan Collateral (as defined herein)
(collectively, the “Prepetition Revolver Collateral”) pursuant to the “Collateral
Documents” (as such term is defined and as set forth in the Revolver Credit Agreement)
(the “Revolver Collateral Documents,” and, together with the Revolver Credit
Agreement, the “Revolver Documents”).

(11) Term Loan. Furniture Brands International, Inc., as Borrower
Representative, the other Borrowers, certain other parties designated as “Credit Parties”
thereto, the financial institutions party thereto (collectively, the “Term Loan Lenders”),
Nexbank SSB as successor agent to Pathlight Capital LLC, as administrative agent and
collateral agent (the “Term Loan Agent” and, together with the Term Loan Lender, the
“Term Loan Parties”), and Wells Fargo Bank, National Association, as documentation
agent, are parties to that certain Term Loan Agreement, dated as of September 25, 2012
(the “Term Loan Agreement”). The Term Loan Agreement provides for a $50 million
term loan (the “Term Loan”), of which approximately $49.7 million remains outstanding
as of the Petition Date (together with (x) any and all obligations outstanding under the
Term Loan, including the Prepayment Premium (as such term is defined in the Term
Loan Agreement) and (y) any obligations created pursuant to this Interim Order,
including the adequate protection provided in paragraph 12 hereof, the “Term Loan
Obligations”). The Term Loan is secured by a first priority lien on substantially all of the

Debtors’ property other than the Prepetition Revolver Collateral, including without

 
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limitation intellectual property, real estate, fixtures, furniture and equipment, and capital
stock of the Debtors’ subsidiaries, subject to certain exceptions set forth in the Term

Loan Agreement, and a second priority lien on the Prepetition Revolver Collateral

 

(collectively, the “Prepetition Term Loan Collateral,” and, together with the Prepetition
Revolver Collateral, the “Prepetition Collateral”), pursuant to “Collateral Documents” (as
such term is defined and as set forth in the Term Loan Agreement) (the “Term Loan
Collateral Documents,” and together with the Term Loan Agreement, the “Term Loan
Documents” and the Term Loan Documents, together with the Revolver Documents and

the Intercreditor Agreement, the “Prepetition Loan Documents”). As of the Petition

 

Date, the value of the Prepetition Collateral securing the Revolver Obligations and Term
Loan Obligations exceeded the amount of the Revolver Obligations and Term Loan
Obligations.

(ili) Intercreditor Agreement. On September 25, 2012, the Revolver Agent
and the Term Loan Agent entered into that certain Intercreditor Agreement that, among
other things, assigned relative priorities to certain claims and liens arising under the
Revolver and the Term Loan (the “Intercreditor Agreement”).

(iv) Validity and Priority af Pre-Petition Indebtedness and Liens. After
consultation with their attorneys and financial advisors, the Debtors, the Revolver Agent,
and the Term Loan Agent acknowledge and agree that (a) the liens on the Prepetition
Collateral granted pursuant to the Prepetition Loan Documents, respectively, are valid,
binding, enforceable, non-avoidable, and perfected liens, and are not subject to any
challenge or defense, including avoidance, reduction, offset, attachment, disallowance,

disgorgement, counterclaim, surcharge, recharacterization, or subordination, pursuant to

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the Bankruptcy Code or applicable non-bankruptcy law; (b) the liens granted pursuant to
the Revolver Collateral Documents are senior to all security interests and liens in the
Prepetition Collateral, subject only to the senior liens of the Term Loan Agent in certain
Prepetition Collateral in accordance with the Intercreditor Agreement, and to certain
other liens otherwise permitted by the Revolver Credit Agreement (to the extent any such
permitted liens were valid, binding, enforceable, properly perfected, non-avoidable, and
senior in priority to the liens of the Revolver Agent in the Prepetition Revolver
Collateral); (c) the liens granted pursuant to the Term Loan Collateral Documents are
senior to all security interests and liens in the Prepetition Collateral, subject only to the
senior liens of the Revolver Agent in certain Prepetition Collateral in accordance with the
Intercreditor Agreement, and to certain other liens otherwise permitted by the Term Loan
Agreement (to the extent any such permitted liens were valid, binding, enforceable,
properly perfected, non-avoidable, and senior in priority to the liens of the Term Loan
Agent in the Prepetition Term Loan Collateral); (d) the Revolver Documents are valid
and enforceable by the Revolver Agent and Revolver Lenders against each of the
Debtors; (ec) the Term Loan Documents are valid and enforceable by the Term Loan
Agent and the Term Loan Lenders against each of the Debtors; (f) the obligations under
the Revolver and the obligations under the Term Loan constitute legal, valid, binding,
and unavoidable obligations of the Debtors, enforceable in accordance with the terms and
conditions of the Revolver Documents and the Term Loan Documents; (g) no offsets,
challenges, defenses, claims, or counterclaims of any kind or any nature to any of the
obligations under the Revolver or to any of the obligations under the Term Loan exist,

and no portion of such obligations (including, as applicable, the Revolver Obligations and

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the Term Loan Obligations) is subject to avoidance, recharacterization, disallowance, or
subordination pursuant to the Bankruptcy Code or other applicable law, except as
expressly set forth in the Prepetition Loan Documents; (h) the Debtors and their estates
have no offsets, defenses, claims, objections, challenges, causes of action, and/or choses
in action, including, without limitation, avoidance claims under Chapter 5 of the
Bankruptcy Code, against the Revolver Agent, the Term Loan Agent, the Revolver
Lenders, the Term Loan Lenders (collectively, the “Prepetition Secured Parties”), and/or
any of the Prepetition Secured Parties’ respective affiliates, parents, subsidiaries,
controlling persons, agents, attorneys, advisors, professionals, officers, directors, or
employees whether arising under applicable state or federal law (including, without
limitation, any recharacterization, subordination, avoidance or other claims arising under
or pursuant to Sections 105, 510, or 542 through 553 of the Bankruptcy Code) or arising
under or in connection with any of the Revolver Documents or the Term Loan
Documents (or the transactions contemplated thereunder), the obligations under the
Revolver and the Term Loan, or the security interests and liens in the Prepetition
Collateral; (i) as of the Petition Date, the value of the Prepetition Collateral securing the
Revolver Obligations and the Term Loan Obligations exceeded the amount of those
obligations, and accordingly, the Revolver Obligations and the Term Loan Obligations
constitute allowed, secured claims within the meaning of Sections 506(c) and 502 of the
Bankruptcy Code, together with accrued and unpaid interest, fees, including, attorneys’
fees and related expenses, costs, expenses, and other charges of whatever nature owing in
respect thereof; () the Debtors have waived, discharged, and released any right to

challenge any of the obligations under the Revolver and the Term Loan, the priority of

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the Debtors’ obligations thereunder, and the security for (and the priority of the liens
securing) such obligations, and to assert any offsets, defenses, claims, objections,
challenges, causes of action, and/or choses in action against the Prepetition Secured
Parties, and/or any of their respective officers, directors, or employees; and (k) any
payments made on account of the obligations under the Revolver and the obligations
under the Term Loan (including, as applicable, the Revolver Obligations and the Term
Loan Obligations) to or for the benefit of the Prepetition Secured Parties prtor to the
Petition Date were on account of amounts in respect of which the Prepetition Secured
Parties were oversecured, were payments out of the Prepetition Collateral in accordance
with the Intercreditor Agreement, and such payments did not diminish any property
otherwise available for distribution to unsecured creditors.

(v) Cash Collateral. The Debtors acknowledge and stipulate that
substantially all of the Debtors’ cash, including the cash in their deposit accounts,
wherever located, whether as original collateral or proceeds of other Prepetition
Collateral, constitutes “cash collateral” (as such term is defined in section 363(a) of the
Bankruptcy Code) of the Prepetition Secured Parties.

(vi) Default by the Debtors. The Debtors acknowledge and stipulate that the
Debtors are in default of their debts and obligations under the Revolver Documents and
the Term Loan Documents. Furthermore, the Debtors acknowledge and stipulate that by
filing petitions for relief under chapter 11 of the Bankruptcy Code and commencing these
chapter 11 cases, all of their debts and obligations under the Revolver Documents and the
Term Loan Documents (including, without limitation; the “Prepayment Premium,” as

such term is defined in the Term Loan Agreement), are immediately due and payable.

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F. Consent to Adequate Protection. The Term Loan Agent has provided its consent

to the adequate protection provided in paragraph 12 of this Interim Order.

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G. Findings Regarding the Postpetition Financing.

(i) Request for Postpetition Financing. The Debtors seek authority on an
mterim basis to: (a) use cash collateral on the terms described herein, and (b) access and
use the liquidity provided under the Interim DIP Financing to: (1) access and use of the
Take-Out Term Loan (and, to the extent necessary, the DIP Revolver) to (x) permanently
repay in full all Revolver Obligations (and cash collateralize all outstanding letters of
credit and purchase charge cards), except as set forth in the Revolver Payoff Letter, (y)
fund the indemnity account provided for under the Revolver Payoff Letter, and (z) pay
fees and expenses (including original issue discount in respect of the total amount of
committed financing under the DIP Facility); and (2) access and use of up to $25 million
of the DIP Revolver to fund their chapter 11 cases on the terms set forth herein and the
DIP Documents (including, for the avoidance of doubt, the Budget, as defined below);

(ii) Priming of Certain Prepetition Liens. The priming of the liens of the
Term Loan Agent and the Term Loan Lenders on the Prepetition Collateral, as
contemplated by the DIP Facility and as further described below, will enable the Debtors
to obtain the DIP Facility and to continue to operate their businesses for the benefit of
their estates and creditors. However, the Term Loan Agent and the Term Loan Lenders
are entitled to receive adequate protection as set forth in this Interim Order pursuant to
sections 361, 363, and 364 of the Bankruptcy Code, for and to the extent of any
postpetition diminution in the value of each of their respective interests in the Prepetition

Collateral (including cash collateral) resulting from the Debtors’ use, sale, or lease of

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such collateral, the imposition of the automatic stay, the priming of the prepetition liens
granted on the Prepetition Collateral, and the subordination to the Carve-Out described in
paragraph J.31 hereof and the DIP Liens (as defined herein) (collectively, the
“Diminution in Value”), The Revolver Agent, for the benefit of itself and the Revolver
Lenders, is entitled to receive adequate protection. Pursuant to sections 361, 363, and
507(b), as adequate protection, the Debtors shall (1) pay the amounts required under the
Revolver Obligations, (2) fund the Revolver Indemnification Account in the amount of
$250,000 upon closing of the DIP Facility, and (3) grant the liens in the Revolver
Indemnification Account.

(iii) Need for Postpetition Financing and Use of Cash Collateral. The
Debtors’ need to use cash collateral and to obtain credit pursuant to the DIP Facility as
provided for herein is necessary to enable the Debtors to continue operations and to
administer and preserve the value of their estates. The ability of the Debtors to finance
their operations, to maintain business relationships with their vendors, suppliers, and
customers, to pay their employees, and otherwise to finance their operations requires the
availability of working capital ftom the DIP Facility and the use of cash collateral.
Without the ability to access the DIP Facility or cash collateral, the Debtors, their estates,
their creditors, and the possibility for a successful reorganization would suffer immediate
and irreparable harm. The Debtors do not have sufficient available sources of working
capital and financing to operate their businesses or maintain their properties in the
ordinary course of business without the DIP Facility and authorized use of cash collateral.

(iv) No Credit Available on More Favorable Terms. Given their current

financial condition, financing arrangements, and capital structure, the Debtors are unable

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to obtain financing from sources other than the DIP Lenders on terms more favorable
than the DIP Facility. The Debtors have been unable to obtain unsecured credit
allowable under section 503(b)(1) of the Bankruptcy Code as an administrative expense.
The Debtors have also been unable to obtain credit (a) having priority over that of
administrative expenses of the kind specified in Sections 503(b), 507(a), and 507(b) of
the Bankruptcy Code, (b) secured by a lien on property of the Debtors and their estates
that is not otherwise subject to a lien, or (c) secured solely by a junior lien on property of
the Debtors and their estates that is subject to a lien. Financing on a postpetition basis is
not otherwise available without granting the DIP Agent, for the benefit of itself and the
DIP Lenders, (a) perfected security interests in and liens on (each as provided herein) all
of the Debtors’ existing and after-acquired assets with the priorities set forth herein,

(b) superpriority claims and liens, and (c) the other protections set forth in the Interim
Order. The DIP Lenders would be unwilling to provide financing under the DIP Facility
absent the requirement that immediately upon entry of this Interim Order, proceeds of
the Take-Out Term Loan (and, to the extent necessary, the DIP Revolver) be used to
permanently repay the amounts outstanding under the Revolver.

(v) Adequacy of the Budget. As set forth in the DIP Documents, the Debtors
have prepared and delivered a budget, a copy of which is annexed to the DIP Agreement
attached as Exhibit B to the Motion (as may be modified, amended, restated or
supplemented with the consent of Oaktree, in its sole discretion on the terms set forth in

the DIP Documents and paragraph J.15 hereof, the “Budget”), to the DIP Agent and DIP

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Lenders.’ The Budget has been thoroughly reviewed by the Debtors, their management,
and their advisors. The Debtors, their management, and their advisors believe the budget
and the estimate of administrative expenses due or accruing during the period covered by the
DIP Facility were developed using reasonable assumptions. Assuming the midpoint of the
administrative expense estimate and making reasonable assumptions with respect to the
proceeds which the sale of the Lane Assets would generate, there should be sufficient
available assets to pay all administrative expenses due or accruing during the period covered
by the DIP Facility.

H. Sections 506(c) and 552(b). In exchange for (i) the DIP Agent’s and the DIP

Lenders’ agreement to subordinate their liens and superpriority claims to the Carve-Out and (ii)

the Term Loan Agent’s, and the Term Loan Lenders’ agreement to subordinate their liens and

claims to the Carve-Out and the DIP Liens, the DIP Agent, the DIP Lenders, the Term Loan

Agent, and the Term Loan Lenders shall, only upon entry of the Final Order, each receive (i) a

waiver of any “equities of the case” claims under Section 552(b) of the Bankruptcy Code and (ii)

a waiver of the provisions of Section 506(c) of the Bankruptcy Code.

L. Grood Faith of the Agent and the DIP Lenders.

(1) Willingness to Provide Financing. The DIP Lenders have indicated a
willingness to provide financing to the Debtors subject to: (a) the entry by this Court of
this Interim Order; (b) approval by this Court of the terms and conditions of the DIP
Facility and the DIP Documents; and (c) entry of findings by this Court that such

financing is essential to the Debtors’ estates, that the DIP Agent and DIP Lenders are

 

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For the avoidance of doubt, the Agreed Budget is one of the DIP Documents.

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extending credit to the Debtors pursuant to the DIP Documents in good faith, and that the
DIP Agent’s and DIP Lenders’ claims, superpriority claims, security interests, and liens
and other protections granted pursuant to this Interim Order and the DIP Documents will
have the protections provided in section 364(e) of the Bankruptcy Code and will not be
affected by any subsequent reversal, modification, vacatur, amendment, reargument, or
reconsideration of this Interim Order, or any other order.

(11) Business Judgment and Good Faith Pursuant to Section 364(e). The
terms and conditions of this Interim Order, the DIP Facility, and the DIP Documents, and
the fees paid and to be paid thereunder, are fair, reasonable, and the best available to the
Debtors under the circumstances, reflect the Debtors’ exercise of prudent and sound
business judgment consistent with their fiduciary duties, and are supported by reasonably
equivalent value and consideration. The DIP Facility and the use of cash collateral were
negotiated in good faith and at arms’ length among the Debtors, the DIP Agent, the DIP
Lenders, and the Prepetition Secured Parties. The use of cash coilateral and credit to be
extended under the DIP Facility shall be deemed to have been so allowed, advanced,
made, used, and extended in good faith, and for valid business purposes and uses, within
the meaning of section 364(e) of the Bankruptcy Code, and the DIP Agent and the DIP
Lenders are therefore entitled to the protection and benefits of section 364(e) of the
Bankruptcy Code and this Interim Order.

J. Notice. Notice of the Interim Hearing and the emergency relief requested in the
Motion has been provided by the Debtors, whether by facsimile, email, overnight courier, or
hand delivery, to certain parties-in-interest, including, (i) the U.S. Trustee; (ii) the Internal

Revenue Service; (iit) the parties included on the Debtors’ consolidated list of their thirty (30)

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largest unsecured creditors; (iv) counsel to the Revolver Agent for itself and for the Revolver
Lenders; (v) Term Loan Agent for itself and for the Term Loan Lenders; (vi) counsel to the DIP
Agent for itself and for the DIP Lenders; and (vii) all parties holding security interests in any of
the Debtors’ assets. The parties have made reasonable efforts to afford the best notice possible
under the circumstances and such notice is good and sufficient to permit the relief set forth in
this Interim Order.

Based upon the foregoing findings and conclusions, the Motion, and the record before the
Court with respect to the Motion, and good and sufficient cause appearing therefor,

IT IS HEREBY ORDERED that:

1. Interim DIP Financing Approved. The Interim DIP Financing is authorized
and approved, and the use of cash collateral on an interim basis is authorized, subject to the
terms and conditions set forth in this Interim Order and the DIP Documents (including the
Budget).

2. Objections Overruled. All objections to the Interim DIP Financing and/or
entry of this Interim Order to the extent not withdrawn or resolved are hereby overruled.

DIP Facility Authorization

3, Authorization of the Interim DIP Financing and Entry Into the DIP
Documents. The DIP Facility, the DIP Documents, and the Revolver Payoff Letter are hereby
approved for the Interim DIP Financing. The Debtors are expressly and immediately authorized
and empowered to incur and to perform the DIP Obligations (as defined herein) in accordance
with, and subject to, the terms of this Interim Order and the DIP Documents, and to deliver all
instruments and documents that may be necessary or required for the performance by the Debtors

under the DIP Facility and the creation and perfection of the DIP Liens (as defined below)

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provided for by this Interim Order and the DIP Documents. The DIP Documents evidence valid
and binding obligations of the Debtors, which shall be enforceable against the Debtors, their
estates, and their creditors in accordance with the terms and conditions of the DIP Documents
and this Interim Order. The Debtors are hereby authorized to pay, in accordance with this
Interim Order, the principal, interest, fees (including original issue discount), expenses, and other
amounts described in the DIP Documents and all other documents comprising the DIP Facility as
such become due and without need to obtain further Court approval, all to the extent provided in
the DIP Documents. All collections and proceeds, whether from ordinary course collections,
asset sales, debt or equity issuances, insurance recoveries, condemnations, or otherwise, will be
deposited and applied as required by this Interim Order and the DIP Documents. All of the
obligations described in the DIP Documents shall represent valid and binding obligations of the
Debtors, enforceable against each of the Debtors and their estates in accordance with the terms of
the DIP Documents. The Debtors are authorized and directed to fund the Revolver
Indemnification Account from the proceeds of the DIP Facility. The Debtors are authorized and
directed to make payments to the Revolver Agent and the Revolver Lenders as set forth in the
Revolver Payoff Letter, including expense reimbursement and indemnification. Such payments
to be made five days after receipt of an invoice therefor without any further notice or order of the
Court.

4, Authorization to Access the Interim DIP Financing and Apply the Proceeds
of the Take-Out Term Loan to Repay the Revolver. During the period that this Interim Order is
effective, and subject to the terms and conditions set forth in the DIP Documents, the DIP
Facility, and this Interim Order, and to prevent immediate and irreparable harm to the Debtors’

estates, the Debtors are hereby authorized to access the Interim DIP Financing pursuant to the

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terms herein and the terms of the DIP Documents. Additionally, the Debtors are expressly and
immediately authorized, and empowered to incur the debt made available under the Take-Out
Term Loan and use the proceeds of the Take-Out Term Loan (and, to the extent necessary, the
DIP Revolver) to permanently repay in full all outstanding obligations (and cash collateralize all
outstanding letters of credit and purchase charge cards) under the Revolver, except as set forth m
the Revolver Payoff Letter, and, concurrently therewith, terminate the Revolver.

5. DIP Obligations. Upon entry of this Interim Order, the DIP Documents and
this Interim Order shall constitute and evidence the validity and binding effect of the Debtors’
obligations under the DIP Facility, the other DIP Documents, and this Interim Order (ihe “DIP
Obligations”), which DIP Obligations shall be enforceable against the Debtors, their estates, and
any successors thereto, including, any trustee appointed in these cases, or any case under chapter
7 of the Bankruptey Code upon the conversion of any of these cases, or in any other proceedings
superseding or related to any of the foregoing (collectively, the “Successor Cases”), Upon entry
of this Interim Order, the DIP Obligations will include all loans and any other indebtedness or
obligations, contingent or absolute, which may now or from time to time be owing by any of the
Debtors to the DIP Agent or to any of the DIP Lenders, under the DIP Documents, or this
Interim Order, including all principal, accrued interest, costs, fees, expenses, and other amounts
under the DIP Documents. The DIP Obligations shall be due and payable as provided for herein
and in the DIP Documents.

6, DIP Liens. To secure the DIP Obligations, effective immediately upon
entry of this Interim Order, pursuant to sections 361, 362, 364(c)(2), 364(c)\(3), and 364(d) of the
Bankruptcy Code, the DIP Agent, for the benefit of itself and the DIP Lenders, is hereby granted

continuing, valid, binding, enforceable, non-avoidable, and automatically and properly perfected

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postpetition priming, first-priority security interests in and liens upon (collectively, the “DIP
Liens”) each of Borrowers’ and the Credit Parties’ right, title, and interest in, to, and under all
personal property and other assets (provided, that with respect to any leased real property of the
Debtors, the DIP Liens will be limited to and shall attach solely to any proceeds of the
disposition of such lease), whether now owned by or owing to, or hereafter acquired by or arising
in favor of the Borrowers and the Credit Parties (including under any trade names, styles, or
derivations thereof), and whether owned or consigned by or to, or leased from or to, such
Borrowers or Credit Parties, and regardless of where located, including the Prepetition Collateral
(collectively, the “DIP Collateral”), as collateral security for the prompt and complete payment
and performance when due (whether at the stated maturity, by acceleration, or otherwise) of the
DIP Obligations. The DIP Collateral shall include (as each such term is defined in the DIP
Documents) all: (a) all accounts (including health-care insurance receivables), all monies, all
cash and cash equivalents, chattel paper (including electronic chattel paper), collateral security,
deposit accounts, securities accounts, futures accounts (and all amounts and assets contained in
such deposit accounts, securities accounts and futures accounts or created thereon), documents
(as defined in the UCC and, including, if applicable, electronic documents), equipment, general
intangibles (including all payment intangibles and Intellectual Property), guarantees, instruments
(including promissory notes), inventory, investment property, securities, insurance claims and
proceeds, tort claims, letter of credit rights (whether or not the letter of credit is evidenced by a
writing), any other contract rights or rights to the payment of money and any supporting
obligations related to any of the foregoing; (b) the Commercial Tort Claims described on
Schedule | to the Guaranty and Security Agreement and on any supplement thereto received by

the DIP Agent pursuant to Section 5.8 of the Guaranty and Security Agreement; (c) all books and

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records pertaining to the collateral; (d) all equipment, goods and fixtures; (e) all securities
accounts, deposit accounts, Cash Collateral Accounts and the Collection Account; (f) all
Intellectual Property; (g) all property of such Credit Party held by any Secured Party, including
all property of every description, in the custody of or in transit to such Secured Party for any
purpose, including safekeeping, collection or pledge, for the account of such Grantor or as to
which such Grantor may have any right or power, including but not limited to cash; (h) all
Inventory; (i) all Pledged Collateral and Pledged Investment Property; (j) all Letter-of-Credit
Rights; (k) subject to entry of the Final Order, the proceeds of any avoidance actions under
chapter 5 of the Bankruptcy Code (“Avoidance Actions”); (1) all other personal property of such
Grantor, whether tangible or intangible and wherever located; and (m) to the extent not
otherwise included, all products and proceeds and all accessions to, substitutions and
replacements for, and rents, profits, and products of, each of the foregoing, and any and all
proceeds of any insurance, indemnity, warranty or guaranty payable to such Grantor from time to
time with respect to any of the foregoing (in whatever form and including business interruption
insurance) including, without limitation, any equity interests or assets constituting indebtedness
received or acquired by any Grantor in exchange for, or proceeds from the sale of, assets which
constituted DIP Collateral prior to such exchange or sale; provided, however, that “DIP
Collateral” shall not include (x} Avoidance Actions (but will, subject to the entry of the Final
Order, include the proceeds thereof), (y) any Excluded Property (as defined in the DIP
Agreement), and (z) prior to the occurrence of the Revolver Adequate Protection Termination
Date (as defined in paragraph 12(c) hereof), the Revolver Indemnification Account and any cash
collateral accounts required pursuant to the Revolver Payoff Letter (it being understood that any

residual amounts in such accounts shall constitute DIP Collateral following the Revolver

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Adequate Protection Termination Date without further action by any party or court order);
provided, further, that the DIP Collateral shall, subject to entry of the Final Order, include the
proceeds of Avoidance Actions; provided, further, that if and when any property shall cease to be
Excluded Property, immediately at and from such time (and without any action by any the
Debtors or any other person), the DIP Collateral shall include, and the security interest granted
by the Borrowers and each Credit Party shall attach to, such property.

7, DIP Lien Priority. Subject only to the Carve-Out described in paragraph 31
hereof, the DIP Liens securing the DIP Obligations shall be senior in priority to all other
security interests in, liens on, or claims against the DIP Collateral. The DIP Liens shall not
otherwise be made subject to or pari passu with any lien or security interest and shall be valid
and enforceable against any trustee appointed in these chapter 11 cases or any Successor Cases,
and/or upon the dismissal of any of these chapter 11 cases or any Successor Cases. Subject to
entry of the Final Order the DIP Liens shall not be subject to sections 506(c), 510, 549, 550, or
551 of the Bankruptcy Code.

8. DIP Superpriority Claim. Subject only to the Carve-Out described in
paragraph 31 hereof, upon entry of this Interim Order, the DIP Agent and the DIP Lenders are
hereby granted pursuant to section 364(c)(1) of the Bankruptcy Code, an allowed superpriority
administrative expense claim in each of these chapter 11 cases and any Successor Cases for all
of the DIP Obligations with priority over any and all administrative expense claims and
unsecured claims against the Debtors or their estates in any of these chapter 11 cases and any
Successor Cases, at any time existing or arising, of any kind or nature whatsoever, including
administrative expenses of the kinds specified in or ordered pursuant to sections 105, 326, 328,

330, 331, 365, 503(a), 503(b), 507(a), 507(b) (except as set forth herein), 546(c), 546(d), 726 (to

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the extent permitted by law), 1113, and 1114 of the Bankruptcy Code, and any other provision of
the Bankruptcy Code, which shall at all times be senior to the rights of the Debtors and their
estates, and any successor trustee or other estate representative (the “DIP Superpriority Claim”);

provided, however, that the DIP Superpriority Claim shall not attach to the proceeds of

 

Avoidance Actions, except upon entry of the Final Order.

9. Extension of Credit. The DIP Agent and the DIP Lenders shall have no
obligation to make any loan or advance unless all of the conditions precedent to the making of
such extension of credit under the DIP Documents and this Interim Order have been satisfied in
full or waived by the Required Lenders in their sole discretion.

10. Use of DIP Facility Proceeds; Repayment of the Revolver Obligations.
From and after the Petition Date, the Debtors shall use advances of credit under the DIP Facility
only pursuant to the terms herein and the terms of the DIP Documents. The Debtors are
authorized to use the proceeds of the DIP Facility to make the adequate protection payments
provided for in paragraph 12 of this Interim Order. Immediately upon entry of this Interim
Order, the Debtors shall use proceeds of the Take-Out Term Loan (and, to the extent necessary,
the DIP Revolver) to (i) pay fees and expenses (including original issue discount in respect of the
total amount of committed financing under the DIP Facility), (ii) permanently repay in full all
outstanding obligations (and cash collateralize all outstanding letters of credit and purchase
charge cards) under the Revolver and, concurrently therewith, terminate the Revolver in
accordance with the Revolver Documents and the Revolver Payoff Letter, and (iii) fund the

Revolver Indemnification Account.

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Authorization to Use Cash Collateral and Adequate Protection

11. Authorization to Use Cash Collateral. Subject to the terms and conditions
set forth in, and in accordance with, this Interim Order, the DIP Facility, and the DIP
Documents, the Debtors are authorized to use cash collateral. Except as expressly permitted in
this Interim Order (including paragraph 4 hereof), the DIP Facility, and the DIP Documents,
nothing in this Interim Order shall authorize the disposition of any assets of the Debtors or their
estates outside the ordinary course of business, or any of the Debtors’ use of any cash collateral
or other proceeds resulting therefrom. Upon the occurrence of an Event of Default (as defined
herein and in the DIP Documents), the Debtors’ consensual use of cash collateral shall
terminate.

12. Adequate Protection.

(a) Subject only to the Carve-Out described in paragraph 31 hereof, as
adequate protection for the use of the DIP Collateral securing the Term Loan before entry

of this Interim Order, the Term Loan Agent and the Term Loan Lenders shall receive

   
 

(i) payment in cash 0 on a monthly basi interest accruin the Term Loan at. an.——~— - a

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interest ratejePoiiee) pereent per annum with any remgkesierintoness, fees, and JL oa. raceloheth

commissions (including, for the avoidance of doubt, any accrued pre- and post-petition

 

interest and letter of credit fees and commissions due under the Term Loan Agreement) all
paid as paid-in-kind (PIK) interest at the non-default rate set forth in the Term Loan
Agreement; provided, however, that to the extent a final, non-appealable order of a court

of competent jurisdiction determines that the Term Loan Lenders were undersecured on

the Petition Date, the payments of current interest provided for in this paragraph shall be

reallocated to payment of principal outstanding under the Term Loan; provided, further,

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that notwithstanding anything to the contrary contained herein, the Term Loan Agent and
the Term Loan Lenders shall be entitled to retain any such adequate protection payments
to the extent necessary to compensate them for any Diminution in Value of the
Prepetition Collateral; (ii) payment in cash on a current basis of all reasonable and
documented out-of-pocket fees and expenses of the Term Loan Agent and the Term Loan
Lenders (including any accrued pre- and postpetition interest and letter of credit fees and
commissions and the reasonable and documented out-of-pocket fees and expenses of
their respective professional advisors); (iii) replacement liens to the extent of Diminution
in Value of the Prepetition Collateral, including replacement liens on all unencumbered
assets of the Debtors (except any Avoidance Actions, but including, subject to entry of
the Final Order, the proceeds thereof), which liens will be junior to the liens of the DIP
Lenders under the DIP Facility; and (iv) superpriority administrative expense claims with
respect to each of the foregoing and to the extent of Diminution in Value of the
Prepetition Collateral, which claims will be junior to the DIP Obligations and be payable
from and have recourse to all assets and property of the Debtors (except any Avoidance
Actions, but including, subject to entry of the Final Order, the proceeds thereof).

(b) Subject to the terms and conditions set forth in the DIP Documents, upon
entry of the Final Order, the DIP Agent, the DIP Lenders, the Term Loan Agent, and the
Term Loan Lenders shall each have the right to credit bid, as applicable, the full amount
of each of the DIP Obligations and the Term Loan Obligations, in connection with any
sale of the Debtors’ assets and property, including, any sale occurring pursuant to
section 363 of the Bankruptcy Code or included as part of any plan of reorganization

subject to confirmation under section 1129(b)(2)(A)(iii) of the Bankruptcy Code.

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(c) As adequate protection, effective immediately upon entry of this Interim
Order, pursuant to sections 361, 362, 364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy
Code, the Revolver Agent, for the benefit of itself and the Revolver Lenders, is hereby
granted continuing, valid, binding, enforceable, non-avoidable, and automatically and
properly perfected postpetition priming, first-priority security interests in and liens upon
(i) the Revolver Indemnification Account and all funds therein and (ii) all cash collateral
accounts created pursuant to or related to the Revolver Payoff Letter. The Revolver
Indemnification Account and the liens granted therein shall terminate and all remaining
amounts held in the Revolver Indemnification Account shall be released to the Debtors, if
all Revolver Obligations have been indefeasibly and irrevocably paid in full in cash, upon

the earliest to occur of (such earliest date, the “Revolver Adequate Protection

 

Termination Date”): (i) ten (10) days following the expiration of the Challenge Period (as
defined herein) if, as of such date, no party has filed a contested matter, an adversary
proceeding, cause of action, objection, claim, defense, or other claim or Challenge as
contemplated in paragraph 34 hereof in respect of any claim, security interest, or any
other rights of the Revolver Agent or the Revolver Lenders; (ii) if, as of the end of the
Challenge Period, any party has filed or commenced any adversary proceeding, cause of
action, objection, claim, defense, or other challenge, as appropriate, as set forth herein, in
respect of any claim, security interest, or any other rights of the Revolver Agent or the
Revolver Lenders, then ten (10) days following entry of a final order (that is not subject
to a stay, or vacatut, appeal or reconsideration) effecting the termination or final
settlement of all such contested matters, adversary proceedings, causes of action,

objections, claims, defenses, and/or other claims or Challenges; and (iii) the effective

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date of a chapter 11 plan. Following the occurrence of the Revolver Adequate Protection
Termination Date, (x) the liens granted to the Revolver Agent and the Revolver Lenders
in the Revolver Indemnification Account and any cash collateral accounts required
pursuant to the Revolver Payoff Letter shall automatically terminate without any further
action by any party or court order and (y) the Revolver Agent’s and the Revolver
Lenders’ right to adequate protection from the Debtors or any other party shall forever
terminate without any further action by any party or court order. Notwithstanding
anything to the contrary in this Interim Order to the contrary, the Debtors’ residual
interest in the Revolver Indemnification Account shall be subject to the DIP Liens in
accordance with the priorities set forth in this Interim Order and the DIP Documents.

13. Section 507(b) Reservation. Subject only to the Carve-Out described in
paragraph 31 hereof, nothing contained herein shall impair or modify the application of section
507(b) of the Bankruptcy Code in the event that the adequate protection provided in this Interim
Order is insufficient to compensate for any Diminution in Value of the respective interests of the
Term Loan Agent and the Term Loan Lenders in the Prepetition Collateral during these chapter
11 cases or any Successor Cases.

Provisions Common to DIP Financing and Use of Cash Collateral Authorizations

14. Amendment of the DIP Decuments. The DIP Documents may, from time
to time, be amended, amended and restated, modified, or supplemented by the parties thereto
without notice or a hearing if the amendment, amendment and restatement, modification, or
supplement is (a) in accordance with the DIP Documents and (b) not prejudicial in any material
respect to the rights of third parties; provided, however, that notwithstanding the foregoing,

except for actions expressly permitted to be taken by the DIP Agent or the DIP Lenders, no

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amendment, modification, supplement, termination, or waiver of any provision of the DIP
Documents, or any consent to any departure by any of the Borrowers or the Credit Parties
therefrom, shall in any event be effective without the express written consent of the Required
Lenders (it being understood that any necessary signatures may be on a document consenting to
such amendment, modification, termination, or waiver) to the extent required by the DIP
Documents. To the extent reasonably practicable, the Debtors shall provide three days’ written
notice to the Committee and the U.S. Trustee prior to entry of any amendment, modification,
supplement, or waiver of any provision of the DIP Documents.

15. Budget Compliance. The Borrowers and the Credit Parties shall not, and
shall not permit any subsidiary to directly or indirectly, to use any cash or the proceeds of the
DIP Facility in a manner or for a purpose other than those consistent with the DIP Documents
and this Interim Order. The Budget annexed to the DIP Agreement is hereby approved, and any
modification to, or amendment or update of, the Budget shall be in form and substance
acceptable to and approved by Oaktree as provided in the DIP Documents. The Budget may be
amended or modified in writing only with the written consent of Oaktree, in its sole discretion.

16. Modification of Automatic Stay, The automatic stay imposed by
section 362(a) of the Bankruptcy Code is hereby modified to permit (a) the Debtors to grant the
DIP Liens and the DIP Superpriority Claim, and to perform such acts as the DIP Agent may
request in its sole discretion to assure the perfection and priority of the DIP Liens, (b) the
Debtors to take all appropriate action to grant the adequate protection set forth in paragraph 12,
above (the “Replacement Liens”), and to take all appropriate action to ensure that the
Replacement Liens granted thereunder are perfected and maintain the priority set forth herein, (c)

the Debtors to incur all liabilities and obligations to the DIP Agent as contemplated under the

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DIP Documents, (d) the Debtors to pay all amounts referred to, required under, in accordance
with, and subject to this Interim Order, and (e) the implementation of the terms of this Interim
Order.

17, Perfection of DIP Liens and Adequate Protection Liens. This Interim Order
shall be sufficient and conclusive evidence of the validity, perfection, and priority of all liens
granted herein including the DIP Liens and the Replacement Liens without the necessity of filing
or recording any financing statement, mortgage, notice, or other instrument or document which
may otherwise be required under the law or regulation of any jurisdiction or the taking of any
other action (including, for the avoidance of doubt, entering into any deposit account control
agreement, real property mortgage or aircraft security agreement) to validate or perfect (in
accordance with applicable non-bankruptcy law) the DIP Liens, the Replacement Liens, or to
entitle the DIP Agent, the DIP Lenders, the Term Loan Agent, and the Term Loan Lenders to the
priorities granted herein. Notwithstanding the foregoing, the DIP Agent, and the Term Loan
Agent each are authorized to file, as it in its sole discretion deems necessary, such financing
statements, mortgages, notices of lien, and other similar documents to perfect in accordance with
applicable non-bankruptcy law or to otherwise evidence the DIP Liens, and the Replacement
Liens, and all such financing statements, mortgages, notices and other documents shall be
deemed to have been filed or recorded as of the Petition Date; provided, however, that no such
filing or recordation shall be necessary or required in order to create or perfect the DIP Liens
and/or the Replacement Liens. The Debtors are authorized to execute and promptly deliver to
the DIP Agent all such financing statements, mortgages, notices, and other documents as the DIP
Agent may reasonably request. The DIP Agent, in its discretion, may file a photocopy of this

Interim Order as a financing statement with any filing or recording office or with any registry of

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deeds or similar office, in addition to or in lieu of such financing statements, notices of lien, or
similar instruments.

18. After-Acquired Property. Except as otherwise provided in this Interim
Order, pursuant to section 552(a) of the Bankruptcy Code, all property acquired by the Debtors
after the Petition Date, including all DIP Collateral pledged or otherwise granted to the DIP
Agent, on behalf of the DIP Lenders, pursuant to the DIP Documents and this Interim Order is
not and shall not be subject to any lien of any person or entity resulting from any security
agreement entered into by the Debtors prior to the Petition Date, except to the extent that such
property constitutes proceeds of property of the Debtors that is subject to a valid, enforceable,
perfected, and unavoidable lien as of the Petition Date that is not subject to subordination under
section 510(c) of the Bankruptcy Code or other provision or principles of applicable law.

19, Proceeds of Subsequent Financing. [f the Debtors, any trustee, any
examiner with enlarged powers, or any responsible officer subsequently appointed in these
chapter 11 cases or any Successor Cases, shall obtain credit or incur debt pursuant to section
364(b), (c), or (d) of the Bankruptcy Code in violation of the DIP Documents at any time prior to
the indefeasible payment in full of all DIP Obligations, the cancellation, backing, or cash
collateralization of the letters of credit provided for under the DIP Agreement, the satisfaction of
the DIP Superpriority Claims, and the termination of the DIP Agent’s and DIP Lenders’
obligations to extend credit under the DIP Facility, then all of the cash proceeds derived from
such credit or debt shall (a) immediately be turned over first to the DIP Agent and (ii) thereafter,
after the DIP Obligations have been satisfied in full and fully and indefeasibly paid, to the Term
Loan Agent, as applicable, to satisfy outstanding prepetition secured indebtedness in accordance

with the Prepetition Loan Documents (as defined below).

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20, Maintenance of DIP Collateral. Until the indefeasible payment in full of all
DIP Obligations, all indebtedness outstanding in accordance with the Prepetition Loan
Documents, and the termination of the DIP Agent’s and the DIP Lenders’ obligation to extend
credit under the DIP Facility, the Debtors shall (a) insure the DIP Collateral as required under the
DIP Facility and the Prepetition Loan Documents, as applicable and (b) maintain the cash
management system in effect as of the Petition Date, as modified by any order that may be
entered by the Court in accordance with the DIP Documents.

21. Insurance Policies. Upon entry of this Interim Order, the DIP Agent and
the DIP Lenders are, and are deemed to be, without any further action or notice (including
endorsements), named as additional insureds and loss payees on each insurance policy
maintained by the Debtors which in any way relates to the DIP Collateral.

22. _ Disposition of DIP Collateral. Except as expressly provided for in the DIP
Documents, the Debtors shall not sell, transfer, lease, encumber, or otherwise dispose of any
portion of the DIP Collateral other than in the ordinary course of business without the prior
written consent of the DIP Lenders.

23. Events of Default. The term “Event of Default” shall have the same
meaning under this Interim Order as such term has under the DIP Documents and shall include,
for the avoidance of doubt, the Milestones.

24, Rights and Remedies Upon Event of Default. Unless otherwise ordered by
the Court in accordance with the terms hereof, as of 12:00 a.m. prevailing Eastern Time on the
sixth business day after the date the DIP Agent files a notice of an Event of Default on the docket
of the Debtors’ chapter 11 cases (such period, the “Default Notice Period”), the automatic stay

under section 362 of the Bankruptcy Code will be automatically lifted without further order of

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this Court to allow the DIP Agent to take any and all actions permitted by law, as if no case were
pending under the Bankruptcy Code. Unless otherwise ordered by the Court, the sole basis on
which the Debtors can contest the automatic lifting of the automatic stay pursuant to this
paragraph is on the grounds that an Event of Default has not occurred, and the Debtors and other
parties-in-interest may request an expedited hearing on any motion seeking such a finding, and
the DIP Lenders and the Term Loan Parties shall consent to such expedited hearing. In the event
the automatic stay is lifted in accordance with this paragraph, any further order of this Court
authorizing (a) the use of cash collateral, including accounts receivable, inventory, and the
proceeds thereof, of the Debtors in which the DIP Agent or any of the DIP Lenders has an
interest, or (b) under section 364 of the Bankruptcy Code, the obtaining of credit or the incurring
of indebtedness secured by a lien or security interest that is equal or senior to a lien or security
interest held by the DIP Agent or which is entitled to priority administrative status which is equal
or superior to that granted to the DIP Agent for the benefit of the DIP Lenders or the Term Loan
Lenders, as the case may be, shall be prohibited. Upon the DIP Agent having delivered a notice
of an Event of Default in accordance with the DIP Documents and this Interim Order, at any
hearing with respect to whether an Event of Default has occurred, there shall be a presumption in
favor the DIP Lenders and the DIP Agent that an Event of Default has occurred, which
presumption may be rebutted by the Debtors and/or the Committee. In accordance with

Section 7.2(a) of the DIP Agreement, and subject to any applicable grace periods (including,
without limitation, under Section 7.1(1)(vii}, (viii) and (ix) and Section 7.1(0)(i1)), upon the
occurrence of any Event of Default, the DIP Agent may, without notice or demand, immediately
suspend or terminate all or any portion of the DIP Lenders’ obligations to make additional loans

under the DIP Facility. Upon the occurrence of an Event of Default, all loans under the DIP

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Facility shall become due and payable in accordance with Section 7.2(b) of the DIP Agreement.
Nothing herein shall be construed to limit or otherwise restrict the availability of the rights and
remedies provided for in Section 7.2 of the DIP Agreement.

25, Good Faith Under Section 364(e) of the Bankruptcy Code; No Modification
or Stay of this Order. Each of the DIP Agent, the DIP Lenders, the Term Loan Agent, and the
Term Loan Lenders have acted in good faith in connection with this Interim Order, and their
reliance on this Interim Order is in good faith. Based on the findings set forth in this Interim
Order and the record made during the Interim Hearing, and in accordance with section 364(c) of
the Bankruptcy Code, in the event any or all of the provisions of this Interim Order are hereafter
modified, amended, or vacated by a subsequent order of this Court or any other court, the DIP
Agent, the DIP Lenders, the Term Loan Agent, and the Term Loan Lenders are entitled to fullest
extent to the protections provided in section 364(e) of the Bankruptcy Code. Any such
modification, amendment, or vacatur shall not affect the validity and enforceability of any
advances previously made or made hereunder, or lien, claim or priority authorized or created
hereby, Any liens or claims granted to the Agent, the DIP Lenders, the Term Loan Agent, and/or
the Term Loan Lenders arising prior to the effective date of any such modification, amendment,
or vacatur of this Interim Order shall be governed in all respects by the original provisions of this
Interim Order, including entitlement to all rights, remedies, privileges, and benefits granted
herein.

26. DIP and Other Expenses. The Debtors are authorized to pay all reasonable
out-of-pocket expenses of the DIP Agent, the DIP Lenders, and Oaktree (as defined in the DIP
Agreement) in connection with the DIP Facility, to the extent provided in the DIP Documents

(including, without limitation, Section 9.5 of the DIP Agreement) (including, without limitation,

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whether the DIP Documents are terminated by the DIP Agent or the DIP Lenders in accordance
with the terms of the applicable DIP Documents), including, without limitation, legal,
accounting, collateral examination and monitoring fees, financial advisory fees, fees and
expenses of other consultants, and indemnification and reimbursement of fees and expenses. For
the avoidance of doubt, the fees and expenses described in the foregoing sentence shail include,
to the extent set forth in Section 9.5 of the DIP Agreement, all reasonable and documented out-
of-pocket costs, fees, and expenses incurred in connection with the preparation, negotiation,
execution, interpretation or administration of, any modification of any term of or termination of,
any of the DIP Decuments, any commitment or proposal letter therefor, any other document
prepared in connection therewith (including, without limitation, the Asset Purchase Agreement
(as defined in the DIP Agreement)}) or the consummation and administration of any transaction
contemplated therein, (including, without limitation, the sale contemplated by the Asset Purchase
Agreement (as defined in the DIP Agreement)). Payment of all such fees and expenses shall not
be subject to allowance by this Court, and parties entitled under the DIP Documents to receive
such payment of fees and expenses shall not be required to comply with the U.S. Trustee fee
guidelines; provided, however, that any time that such professionals seek payment of fees and
expenses that are incurred from and after the Petition Date from the Debtors, each professional
shall provide copies of its fee and expense statements (redacted to remove confidential or
attorney-client privileged information) to the U.S. Trustee and counsel for the Committee (if
appointed) contemporaneously with the delivery of such fee and expense statements to the
Debtors. To the extent that the U.S. Trustee or the Committee (if appointed) has an objection to
the fees and expenses of any such professional, they shall be afforded 10 days after receipt of

such fee and expense statement to raise a specific written objection, including quantification of

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the disputed amount, with the applicable professional (it being understood that the Debtors shall
be authorized to pay all amounts that are not disputed in a timely received written objection), and
such professional shall only be required to disgorge any amounts paid to such professional
pursuant to such fee and expense statement upon being “so ordered” to do so pursuant to a final
order of this Court.

27. Indemnification. The Debtors shall indemnify and hold harmless the DIP
Agent, the DIP Lenders, and each of their respective shareholders, controlling persons, directors,
agents, officers, subsidiaries, affiliates, successors, assigns, directors, managers, principals,
officers, employees, agents, investor funds, advisors, attorneys, professionals, representatives,
investment bankers, and consultants, each in their respective capacities as such, from and against
any and all damages, losses, settlement payments, obligations, liabilities, claims, actions, or
causes of action, whether groundless or otherwise, and reasonable costs and expenses incurred,
suffered, sustained, or required to be paid by an indemnified party of every nature and character
arising out of or related io the DIP Documents or the transactions contemplated thereby and by
this Interim Order, whether such indemnified party is party thereto, as provided in and pursuant
to the terms of the DIP Documents and as further described therein and herein, except to the
extent resulting from such indemnified party’s gross negligence or willful misconduct as finally
determined by a final non-appealable order of a court of competent jurisdiction. The indemnity
includes indemnification for the DIP Agent’s and any of the DIP Lenders’ exercise of
discretionary rights granted under the DIP Facility. In all such litigation, or the preparation
therefor, the DIP Agent and the DIP Lenders shall be entitled to select their own counsel and, in
addition to the foregoing indemnity, the Debtors agree to promptly pay the reasonable fees and

expenses of such counsel.

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28. Released Parties. Without limiting the rights of the parties in interest as set
forth in paragraph 34 hereof, the Debtors hereby waive any and all actions related to, and hereby
release, each of (a) the DIP Lenders, (b) the Prepetition Secured Parties, and (c) each of their
respective shareholders, controlling persons, directors, agents, officers, subsidiaries, affiliates,
successors, assigns, directors, managers, principals, officers, employees, agents, investors, funds,
advisors, attorneys, professionals, representatives, accountants, investment bankers, and
consultants, each in their respective capacity as such (each such person or entity identified in
sub-clauses (a) through (c) of this paragraph 28, a “Released Party” and, collectively, the
“Released Parties”) from any and all damages, losses, settlement payments, obligations,
liabilities, claims, actions, causes of action, or any Challenge (as defined herein), whether
groundless or otherwise, and reasonable costs and expenses incurred, suffered, sustained, or
required to be paid by an indemnified party of every nature and character arising prior to the
Petition Date and to the extent related to the Prepetition Loan Documents, the DIP Agreement, or
this Interim Order, any documents related to the Prepetition Loan Documents, the DIP
Agreement, or this Interim Order, any aspect of the prepetition relationship with the Released
Parties, any Debtor, or any other acts or omissions by the Released Parties in connection with the
Prepetition Loan Documents, the DIP Agreement, or this Interim Order, any documents related
to the Prepetition Loan Documents, the DIP Agreement, or this Interim Order, or any aspect of
their prepetition relationship with any Debtor.

29, Proofs of Claim. The DIP Agent, the DIP Lenders, and the Term Loan
Parties shall not be required to file proofs of claim in any of these chapter 11 cases or Successor
Cases for any claim allowed herein. Any proof of claim filed by the DIP Agent and the Term

Loan Agent shall be deemed to be in addition to and not in lieu of any other proof of claim that

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may be filed by any of the Term Loan Parties. Any order entered by this Court in relation to the
establishment of a bar date in any of these cases or Successor Cases shall not apply to the DIP
Agent, the DIP Lenders, and the Term Loan Parties.

30, Access to Collateral/No Landlord’s Liens. Subject to applicable state law,
notwithstanding anything contained herein to the contrary and without limiting any other rights
or remedies of the DIP Agent, for the benefit of the DIP Lenders, contained in this Interim Order
or the DIP Documents, or otherwise available at law or in equity, and subject to the terms of the
DIP Documents and this Interim Order, upon written notice to the landlord of any leased
premises that an Event of Default has occurred and is continuing under the DIP Documents, the
DIP Agent may, subject to any separate agreement by and between such landlord and the DIP
Agent (a “Separate Agreement’’), enter upon any leased premises of the Debtors for the purpose
of exercising any remedy with respect to DIP Collateral located thereon and, subject to any
Separate Agreement, shall be entitled to all of the Debtors’ rights and privileges as lessee under

such lease without interference from such landlord; provided, however, that, subject to any such

 

Separate Agreement, the DIP Agent shall only pay rent of the Debtors that first accrues after the
written notice referenced above and that is payable during the period of such occupancy by the
Agent, calculated on a per diem basis. Nothing herein shall require the DIP Agent to assume any
lease as a condition to the rights afforded to the Agent in this paragraph.
31. Carve-Out.
(a) For the purposes of this Interim Order, the term “Carve-Out” means,
collectively: (i) all unpaid fees required to be paid by the debtors to the Clerk of the
Bankruptcy Court and to the U.S. Trustee under 28 U.S.C. § 1930(a) plus interest

pursuant to 31 U.S.C. § 3717; (i) all reasonable and documented fees and expenses

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incurred by a trustee under section 726(b) of the Bankruptcy Code in an amount not to
exceed $50,000; (iii) to the extent allowed at any time, all accrued and unpaid reasonable
and documented fees, disbursements, costs, and expenses incurred at any time before or
on the first business day following delivery by the DIP Agent or the Required Lenders of
a Carve Out Trigger Notice (as defined below) by any professionals or professional firms
retained by the Borrowers or the Committee, whether allowed by the Bankruptcy Court
prior to or after delivery of a Carve Out Trigger Notice; and (iv) after the first business
day following delivery by the DIP Agent or the Required Lenders of the Carve Out
Trigger Notice, to the extent allowed at any time, all reasonable and documented unpaid
fees, disbursements, costs, and expenses incurred by professionals or professional firms
retained by the Borrowers or any Committee in an aggregate amount not to exceed
$1,000,000 (the amount set forth in this clause (iv) being the “Post-Carve Out Trigger
Notice Cap”). For purposes of the foregoing, “Carve Out Trigger Notice” shall mean a
written notice delivered by the DIP Agent or the Required Lenders (which delivery may
be made via electronic mail) to the Borrowers and their counsel, the U.S. Trustee, and
lead counsel to any Committee, which notice may be delivered following the occurrence
and continuance of an Event of Default, and stating that the Post-Carve Out Trigger
Notice Cap has been invoked.

(b) The Carve-Out shall be senior to all liens and claims (including
administrative and superpriority claims and any such claims held by the Stalking Horse
Purchaser) securing the DIP Obligations, the Debtors’ prepetition obligations, the
Replacement Liens, and all other liens or claims (including administrative and

superpriority claims), including all other forms of adequate protection, liens or claims

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(including administrative and superpriority claims) securing the DIP Obligations and
prepetition obligations granted or recognized as valid, including the liens, security
interests, and claims (including administrative and superpriority claims) granted herein or
pursuant to the DIP Documents to the DIP Lenders.

32. Limitation on Investigation.

(a) No DIP Collateral, cash collateral, proceeds of the DIP Facility, portion of
the Carve-Out, the Revolver Indemnification Account, or any other amounts may be used
directly or indirectly by any of the Borrowers or any other Credit Party, the Committee, if
any, or any trustee or other estate representative appointed in these chapter 11 cases or
any Successor Cases or any other person (or to pay any professional fees, disbursements,
costs or expenses incurred in connection therewith) for any of the following actions or
activities (the “Proscribed Actions”):

(i) to seek authorization to obtain liens or security interests that are
senior to, or on a parity with, the liens granted under the DIP Documents, this
Interim Order, or the Final Order (including, the DIP Superpriority Claims); or

(ii) to investigate (including by way of examinations or discovery
proceedings), prepare, assert, join, commence, support or prosecute any action for
any claim, counter-claim, action, proceeding, application, motion, objection,
defense, or other contested matter seeking any order, judgment, determination or
similar relief against, or adverse to the interests of, in any capacity, against the

DIP Agent, the DIP Lenders, or the Prepetition Secured Parties, and each of their

respective shareholders, controlling persons, directors, agents, officers,

subsidiaries, affiliates, successors, assigns, directors, managers, principals,

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officers, employees, agents, investors, funds, advisors, attorneys, professionals,
representatives, accountants, investment bankers, and consultants with respect to
any transaction, occurrence, omission, action, or other matter (including formal
discovery proceedings in anticipation thereof), including, without limitation,

(A) any Avoidance Actions, (B) any so-called “lender liability” claims and causes
of action, (C) any action with respect to the validity, enforceability, priority and
extent of, or asserting any defense, counterclaim, or offset to, the DIP
Obligations, the DIP Superpriority Claims, the DIP Liens granted under the DIP
Documents, or the claims liens granted under the Prepetition Loan Documents,
(D) any action seeking to invalidate, modify, reduce, expunge, disallow, set aside,
avoid or subordinate, in whole or in part, the DIP Obligations, the Revolver
Obligations, or the Term Loan Obligations (including. for the avoidance of doubt,
the “Prepayment Premium” as defined in the Term Loan Agreement); (E) any
action seeking to modify any of the rights, remedies, priorities, privileges,
protections and benefits granted to either (1) the DIP Agent or the DIP Lenders
under this Interim Order or under any of the DIP Documents or (2) the Prepetition.
Secured Parties (in each case, as applicable, including, claims, proceedings or
actions that might prevent, hinder or delay any of their respective assertions,
enforcements, realizations or remedies on or against the DIP Collateral in
accordance with the DIP Documents, this Interim Order, and the Final Order); or
(F) objecting to, contesting, or interfering with, in any way, DIP Agent’s and the
DIP Lenders’ enforcement or realization upon any of the DIP Collateral once an

Event of Default has occurred (as set forth in the DIP Documents).

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(b) Notwithstanding anything to the contrary herein, the Committee may use
up to $50,000.00 in the aggregate amount of the Carve-Out, any cash-collateral, or
proceeds of the Loan to investigate the Prepetition Secured Parties (the “Committee
Investigation Budget”). Any and all claims incurred by the Committee related to or in
connection with any Proscribed Activities other than up to the Committee Investigation
Budget shall not constitute an allowed administrative expense claims (including, without
limitation, Section 1129(a)(9)(A) of the Bankruptcy Code) and shall not be satisfied by
the Carve-Out, any cash collateral or proceeds of the Loan, and shall be satisfied solely
from the unencumbered assets of the Credit Parties (if any) (the “Unencumbered
Assets”), thereby reducing recoveries to the holders of unsecured claims (other than any
deficiency claim held by the Prepetition Secured Parties); provided, however, that to the
extent there are no Unencumbered Assets available to satisfy such claims, then such
claims shall be automatically disallowed without further action by any party or Court
order and shall not receive a recovery in the chapter 11 cases and any Successor Cases.

33. Payment of Compensation. So long as an unwaived Event of Default has

not occurred, and to the extent permitted under the DIP Documents (including, for the avoidance

of doubt, the Budget), the Debtors shall be permitted to pay fees and expenses allowed and

payable, as applicable, by any interim, procedural, or final order of this Court (that has not been

vacated or stayed, unless the stay has been vacated) under sections 330 and 331 of the

Bankruptcy Code, as the same may be due and payable.

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34. Challenge Period.

(a) Subject only to the terms of this paragraph 34, the grant of adequate

protection to the Term Loan Agent, the Term Loan Lenders, the Revolver Agent, and

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Revolver Lenders, and the repayment of the Revolver pursuant to this Interim Order and
the various stipulations and waivers contained in paragraph E hereof shall be without
prejudice to the rights of the Committee to seek to disallow the Prepetition Secured
Parties’ claims in respect of the Prepetition Loan Documents (including. for the
avoidance of doubt, the “Prepayment Premium” as defined in the Term Loan
Agreement), pursue any claims or seck appropriate remedies against Prepetition Secured
Parties in connection with the Prepetition Loan Documents or avoid all or substantially
all of the security interests or liens in the Prepetition Collateral or in any other asset or
property of Debtors in which Prepetition Secured Parties claim an interest, including any
claim, action, or proceeding brought against the Prepetition Secured Parties in accordance
with this paragraph 34 that requires Prepetition Secured Parties to give up adequate
protection liens and super-priority claims, to disgorge adequate protection interest
payments received or accruals credited, or to disgorge as repaid pursuant to this Interim
Order any amounts repaid on account of the Revolver as a result of any of the Prepetition
Secured Parties’ claims against Debtors or liens upon and security interests in the assets
and properties of Debtors (including the Prepetition Collateral) being invalidated,
avoided, subordinated, impaired or compromised in any way, either by an order of this
Court (or other court of competent jurisdiction) or by settlement. Any party (other than
the Debtors, which have waived all such rights), including the Committee, must
commence, as appropriate, a contested matter or adversary proceeding raising any
objection, claim, defense, suit or other challenge (a “Challenge”) with respect to any
claim, security interest, or any other rights of the Prepetition Secured Parties under the

Revolver Documents or the Term Loan Documents, as applicable, including in the nature

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of a setoff, counterclaim, or defense on or before the earlier of the first to occur of (i)
sixty (60) calendar days from the date the U.S. Trustee appoints the Committee and (ii)
seventy-five (75) calendar days following the date of entry of the Final Order (the
“Challenge Period’’), The Challenge Period may only be extended (x) as to the Revolver
Agent and/or the Revolver Lenders, with the prior written consent of both of the
Revolver Agent and the Term Loan Lenders, (y) as to the Term Loan Agent and the Term
Loan Lenders, with the prior written consent of the Term Loan Lenders, or (z) by consent
of the Court for good cause shown. In the event of a timely and successful Challenge to
the repayment of the Revolver Obligations, this Court shall fashion the appropriate
remedy with respect to the Revolver Lenders after hearing from all parties in interest.

(b) Upon the expiration of the Challenge Period, to the extent not specifically
included in a timely and properly filed pleading asserting a Challenge: (i) any other
possible Challenge, whether such Challenge is separately filed or otherwise asserted
through an amendment of any timely and properly filed pleading asserting a Challenge,
shall be deemed to be forever waived and barred; (ii) all of the Debtors’ agreements,
acknowledgments, stipulations, waivers, releases, and affirmations as to the priority,
extent, and validity of the Prepetition Secured Parties’ claims, liens, and interests, of any
nature, under the Prepetition Loan Documents, or otherwise incorporated or set forth in
this Interim Order, shall be of full force and effect and forever binding upon the Debtors,
the Debtors’ bankruptcy estates, and all creditors, interest holders, and other parties-in-
interest in these chapter 11 cases and any Successor Cases without further action by any
party or this Court, and any Committee and any other party in interest, and any and all

successors-in-interest as to any of the foregoing, shall thereafter be forever barred from

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bringing any Challenge with respect thereto; (iii) the liens granted pursuant to the
Prepetition Loan Documents shall (to the extent not otherwise satisfied in full) be deemed
to constitute valid, binding, enforceable, and perfected liens and security interests not
subject to avoidance or disallowance pursuant to the Bankruptcy Code or applicable
bankruptcy law; and (iv) without further order of the Court, the obligations under the
Prepetition Loan Documents shall (to the extent not otherwise satisfied in full) be
allowed as fully secured claims within the meaning of section 506 of the Bankruptcy
Code for all purposes in connection with these cases and any Successor Cases and shall
not be subject to challenge by any party in interest as to validity, priority, or otherwise.

(c) Nothing in this Interim Order vests or confers on any person, including the
Committee or any other statutory committee that may be appointed in these chapter 11
cases, standing or authority to pursue any cause of action, claim, defense, or other right
belonging to the Debtors or their estates. For the avoidance of doubt, entry of this
Interim Order shall not grant standing or authority to the Committee to pursue any cause
of action, claim, defense, or other right on behalf of the Debtors or their estates.

35, No Third Party Rights. Except as explicitly provided for herein, this

Interim Order does not create any rights for the benefit of any third party, creditor, equity holder,

or any direct, indirect, or incidental beneficiary.

36. Section 506(c) Claims. Upon entry of the Final Order, no costs or expenses

of administration which have been or may be incurred in these cases at any time shall be charged

against the DIP Agent, the DIP Lenders, the Prepetition Secured Parties or any of their respective

claims, the DIP Collateral, the Revolver Indemnification Account, or the Prepetition Collateral

pursuant to sections 105 or 506(c) of the Bankruptcy Code, or otherwise, without the prior

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written consent, as applicable, of the DIP Agent, the DIP Lenders, and the Prepetition Secured
Parties, as applicable, and no such consent shall be implied from any other action, inaction, or
acquiescence by any such agents or lenders; provided, however, that the foregoing shall
automatically terminate as to the Revolver Agent and the Revolver Lenders upon the occurrence
of the Revolver Adequate Protection Termination Date.

37. section 552(b). Upon entry of the Final Order, the Revolver Agent and the
Term Loan Agent shall be entitled to all of the rights and benefits of Section 552(b) of the
Bankruptcy Code, and the “equities of the case” exception under Section 552(b) shall not apply
to the Revolver Agent (on behalf of itself and the Revolver Lenders) or to the Term Loan Agent
(on behalf of itself and the Term Loan Lenders), with respect to proceeds, products, offspring, or
profits of any of the Prepetition Collateral; provided, however, that the foregoing shall
automatically terminate as to the Revolver Agent and the Revolver Lenders upon the occurrence
of the Revolver Adequate Protection Termination Date.

38. No Marshaling/Application of Proceeds. Upon entry of the Final Order, the
DIP Agent, the DIP Lenders, and the Term Loan Parties shall not be subject to the equitable
doctrine of “marshaling” or any other similar doctrine with respect to any of the DIP Collateral
or the Prepetition Collateral, as the case may be, and all proceeds shall be received and applied in
accordance with the DIP Documents.

39, Joint and Several Liability. Nothing in this Interim Order shall be
construed to constitute a substantive consolidation of any of the Debtors’ estates, it being
understood, however, that the Debtors shall be jointly and severally liable for the obligations

hereunder and in accordance with the terms of the DIP Facility and the DIP Documents.

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40, Discharge Waiver. The DIP Obligations and the Term Loan Obligations
shall not be discharged by the entry of an order confirming any plan of reorganization in these
cases, notwithstanding the provisions of Section 1 141(d) of the Bankruptcy Code, unless the DIP
Obligations have been indefeasibly paid in full in cash (or, with respect to any letters of credit,
such letters of credit have been treated in a manner satisfactory to the DIP Agent) on or before
the effective date of such confirmed plan of reorganization. None of the Debtors shall propose
or support any plan of reorganization or sale of all or substantially all of the Debtors’ assets or
entry of any confirmation order or sale order that is not conditioned upon the indefeasible
payment in full in cash (or, with respect to any letters of credit, such letters of credit have been
treated in a manner satisfactory to the DIP Agent) on or prior to the earlier to occur of the
effective date of such plan of reorganization or sale.

4t. Rights Preserved. Except as expressly set forth in paragraph 12(c) of this
Interim Order, the entry of this Interim Order is without prejudice to, and does not constitute a
waiver of, expressly or implicitly: (a) the DIP Agent’s, the DIP Lenders’, and/or the Prepetition
Secured Parties’ right to seek any other or supplemental relief in respect of the Debtors,
including, without limitation, the right of the Revolver Agent and the Revolver Lenders to seek
an increase in the funds in the Revolver Indemnification Account; (b) any of the rights of any of
the DIP Agent, the DIP Lenders, and/or the Prepetition Secured Parties under the Bankruptcy
Code or under applicable non-bankruptey law, including the tight to (i) request modification of
the automatic stay of section 362 of the Bankruptcy Code or (ii) propose, subject to the
provisions of section 1121 of the Bankruptcy Code, a chapter 11 plan or plans of reorganization;
or (d) any other rights, claims, or privileges (whether legal, equitable or otherwise) of any of the

DIP Agent, DIP Lenders, and/or the Prepetition Secured Parties.

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42, No Waiver by Failure to Seek Relief. The failure of the DIP Agent, the
DIP Lenders, and/or the Prepetition Secured Parties to seek relief or otherwise exercise their
rights and remedies under this Interim Order the DIP Documents, the Prepetition Loan
Documents or applicable law, as the case may be, shall not constitute a waiver of any of the
rights hereunder, thereunder, or otherwise of the DIP A gent, the DIP Lenders, and/or the
Prepetition Secured Parties,

43, Binding Effect of Interim Order. Immediately upon execution by this
Court, the terms and provisions of this Interim Order shall become valid and binding upon and
inure to the benefit of the Debtors, the DIP Agent, the DIP Lenders, the Prepetition Secured
Parties, all other creditors of the Debiors, the Committee, any other statutory committee that may

be appointed in these chapter 11 cases, and all other parties-in-interest and their respective

 

successors and assigns, including any trustee or other fiduciary hereafter appointed in any of
these cases, any Successor Cases, or upon dismissal of any of these cases or Successor Cases.

44. Effect on Certain Pre-Petition Agreements. Except as expressly set forth in
this Interim Order the terms and conditions, validity, and enforceability of the Prepetition Loan
Documents shall not be affected by this Interim Order.

45, Leases. Notwithstanding anything to the contrary in this Interim Order or
the DIP Documents, upon an Event of Default, the rights of the Prepetition Secured Parties, the
DIP Agent, or the DIP Lenders to enter onto the Debtors’ leased premises shall be limited to (i)
any such rights agreed to in writing by the applicable landlord prior to entry onto the leased
premises, (ii) any rights that the Prepetition Secured Parties, the DIP Agent, or the DIP Lenders

have under applicable non-bankruptcy law, if any, and (iii) such ri ghts as may be granted by the

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Court on a separate motion with notice to the applicable landlords of the leased premises and an
opportunity for such landlords to respond and be heard.

46, Notwithstanding anything to the contrary contained in this Interim Order,
the DIP Agreement, the other DIP Documents, the Revolver Payoff Letter or otherwise, all liens,
security interests, superpriority administrative expense claims, rights and remedies of DIP Agent
and DIP Lenders authorized under this Interim Order shall be expressly subject to the rights,
liens, security interests and claims of Wells Fargo Bank, National Association and the Debtors’
other depository and disbursement banks as provided for under the Interim Order, Pursuant To
Bankruptcy Code Sections 105(A), 345(B), 363(C)(1), 364{A), 364(B), And 503(B)(1),
Bankruptcy Rules 6003 And 6004 And Local Rule 2015-2 (A) Authorizing Debtors To Use
Existing Cash Management System, (B) Authorizing And Directing Banks And Financial
Institutions To Honor And Process Checks And Transfers, (C) Authorizing Continued Use Of
Intercompany Transactions, (D) Waiving Requirements Of Section 345(B) Of Bankruptcy Code
And (E) Authorizing Debtors To Use Existing Bank Accounts And Existing Business Forms.

47, Interim Order Controls, In the event of any inconsistency between the
terms and conditions of the DIP Documents or the Revolver Payoff Letter and this Interim Order,
the provisions of this Interim Order shall govern and control.

48. No Right to Seek Modification. Unless requested by the DIP Agent, the
Debtors irrevocably waive any right to seek any modification or extension of this Interim Order
(in whole or in part) without the prior consent of the Required Lenders, and no such consent shall
be implied by any other action, inaction, or acquiescence of the DIP Agent or the Required

Lenders.

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49, Survival,

(a) The provisions of this Interim Order and any actions taken pursuant hereto
shall survive entry of any order which may be entered (i) confirming any plan of
reorganization in any of these chapter 11 cases, (ii) converting any of these chapter 11
cases to a case under chapter 7 of the Bankruptcy Code, (iii) dismissing any of these
chapter 11 cases or any Successor Cases, or (iv) pursuant to which this Court abstains
from hearing any of these chapter 11 cases or Successor Cases.

(b) The terms and provisions of this Interim Order, including the claims, liens,
security interests, and other protections (as applicable) granted to the DIP Agent, the DIP
Lenders, the Term Loan Agent, and the Term Loan Lenders, pursuant to this Interim
Order and/or the DIP Documents, notwithstanding the entry of any such order, shall
continue in these cases, in any Successor Cases, or following dismissal of these cases or
any Successor Cases, and shall maintain their priority as provided by this Interim Order
until, (i) in respect of the DIP F acility, all the DIP Obligations, pursuant to the DIP
Documents and this Interim Order, have been indefeasibly paid in full and all
commitments to extend credit under the DIP Facility are terminated, and (it) in respect of
the Term Loan, all of the Term Loan Obligations have been indefeasibly paid in full. The
terms and provisions concerning the indemnification of the DIP Agent and the DIP
Lenders shall continue in these chapter 11 cases, in any Successor Cases, following
dismissal of these chapter 11 cases or any Successor Cases, termination of the DIP

Documents, and/or the indefeasible tepayment of the DIP Obligations,

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50, Waiver of Applicable Stay. Any applicable stay (including, without
limitation, under Bankruptcy Rule 6004(h)) is hereby waived and shall not apply to this Interim
Order,

51, Final Hearing. The Final Hearing to consider entry of the Final Order and
final approval of the DIP Facility is scheduled for Z. 2013 at LL LO fm. before the
Honorable Ri 1 nited States Bankruptcy Judge, in Courtroom Gat the
United States Bankruptcy Court for District of Delaware, 824 N. Market Street, Wilmington,
Delaware 19801, On or before Vahl Fr Debtors shall serve, by United States mail, first-
class postage prepaid, notice of the entry of this Interim Order and of the Final Hearing (the
“Final Hearing Notice”), together with copies of this Interim Order and the Motion, on (a) the
parties having been given notice of the Interim Hearing, (b) any party which has filed prior to
such date a request for notices with this Court, and (c) counsel for the Committee (once
appointed). The Final Hearing Notice shall state that any party-in-interest objecting to the entry
of the proposed Final Order shall file written objections with the Clerk of the Court no later than
on Yako13 at 4:00 p.m. (prevailing Eastern time), which objections shall be served so as to

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be actually received on or before such date on: (a) the Debtors, ih, Attn: [p }; &) counsel for St Loos

Metco’ Craham Zs MO
the Debtors, (i) Paul Hastings LLP, 75 East 55th Street, New York, New York 10022, Affn: Luc (3 10 o
A. Despins, Leslie A. Plaskon, and James T. Grogan and (ii) Young Conaway Stargatt & Taylor,
LLP, 1000 North King Street, Wilmington, Delaware 19801, Attn: M. Blake Cleary; [(c) counsel
for the Committee, [e], Attn: [e);] (d) counsel for the DIP Lenders, Kirkland & Ellis LLP, 300
North LaSalle Street, Chicago, illinois, 60654, Attn: Patrick J . Nash, Jr., P.C., Ross M.
Kwasteniet, and Christopher J. Greeno, P.C. and 601 Lexington Avenue, New York, New York

10022, Attn: Brian E, Schartz; (e) counsel for the Term Agent and the DIP Agent, King &

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Spalding LLP, 1180 Peachtree Street, N.E., Atlanta, Georgia 30309, Attn: Jesse H. Austin, IIT;
(£) counsel for the Revolver Agent, (i) Morgan, Lewis & Brockius LLP, 225 Franklin Street,
16th Floor, Boston, MA 021 10-4104, Attn: Matthew Furlong and 101 Park Avenue, New York,
New York 10178, Attn: Wendy S. Walker and (ti) Reed Smith LLP, 1201 Market Street, Suite
1500, Wilmington, DE 19801, Attn: Kurt F. Gwynne; and (g) the U.S. Trustee, 844 King Street,
Suite 2207, Wilmington, Delaware 19801, Attn: Jane Leamy.

52, Nune Pro Tunc Effect of this Final Order. This Interim Order shall
constitute findings of fact and conclusions of law pursuant to Bankruptcy Rule 7052 and shall
take effect and be enforceable nunc pro tunc to the Petition Date immediately upon entry hereof.

53. Retention of Jurisdiction. The Court has retained and will retain

 

jurisdiction to implement, interpret, and enforce this Interim Order according to its terms.

SO ORDERED by the Court this_/ | day of September, 2013,

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CHRISTOPHER S. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

 

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